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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 MEDISIM, LTD                                     Civil Action No.: 10-cv-2463 (SAS) (RLE)

                Plaintiff - Counterdefendant
         v.

 BESTMED, LLC

                Defendant - Counterclaimant



   BESTMED, LLC’S OBJECTIONS TO MEDISIM’S PROPOSED JURY CHARGES

       In accordance with that agreed upon by the parties in the Joint Pretrial Order in this case

(Dkt. 136), BestMed submits its Objections to Medisim’s Proposed Jury Charges with attached

Exhibits 1 and 2. These objections are penned in the margin and include citation to authority as

required by Joint Pretrial Order.
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                              Respectfully submitted,

Dated: January 16, 2013       By:       /s/ Joseph M. Kuo

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                                CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on January 16, 2013, a copy of the foregoing
BESTMED, LLC’S OBJECTIONS TO MEDISIM’S PROPOSED JURY CHARGES was
electronically filed with the Court via ECF which thereby served an e-mail notice upon the
attorneys listed below:


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